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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 FUJIAN MINGTA TOYS CO. LTD.,

                        Plaintiff,
                v.
                                                           Civil Action No. 1:24-cv-5625
 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS                                      JURY DEMAND
 IDENTIFIED ON SCHEDULE “A”,

                        Defendants.


                                          COMPLAINT

       Plaintiff Fujian Mingta Toys Co. Ltd. (“Mingta” or “Plaintiff”) hereby brings this action

against the Partnerships and Unincorporated Associations identified in Schedule A (collectively,

“Defendants”) for design patent and copyright infringement and alleges as follows:

                                        INTRODUCTION

       1.       This action has been filed by Plaintiff to combat online infringers who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale unauthorized and unlicensed

products, namely the Magnetic Maze Toys, shown in Exhibits 1-1 to 1-5 (“Infringing Products”),

that infringe Plaintiff’s patented design and registered copyright. The Defendants create the

Defendant Internet Stores and design them to appear to be selling genuine products, while actually

selling Infringing Products to unknowing consumers. Defendants attempt to avoid liability by

going to great lengths to conceal both their identities and the full scope and interworking of their

operation. Plaintiff is forced to file this action to combat Defendants’ infringement of its patented

designs and copyright rights, as well as to protect unknowing consumers from purchasing

Infringing Products over the Internet. Plaintiff has been and continues to be irreparably damaged



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from the loss of its lawful intellectual property rights in the design patent and copyright as a result

of Defendants’ actions and seeks injunctive and monetary relief.

                                   JURISDICTION AND VENUE

        2.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to 35 U.S.C. § 1 et seq., 17 U.S.C. § 101 et seq., 28 U.S.C. § 1338, and 28 U.S.C. § 1331.

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Online Marketplace

Accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet Stores”).

Specifically, Defendants are reaching out to do business with Illinois residents by operating one

or more commercial, interactive Defendant Internet Stores through which Illinois residents can

purchase products featuring Plaintiff’s patented designs. See Exhibit 2. Each of the Defendants

has targeted sales from Illinois residents by operating online stores that offer shipping to the United

States, including Illinois, accept payment in U.S. dollars and, on information and belief, has sold

products featuring Plaintiff’s patented design to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused

Plaintiff substantial injury in the State of Illinois.

        4.      Joinder in this matter is proper under 35 U.S.C. § 299(a) as the Defendants are all

offering for sale the same or substantially similar infringing products and this case will involve

common questions of fact to all Defendants. Furthermore, Defendant Internet Stores share unique

identifiers, such as using the same or substantially similar product images, same advertising,

design elements and similarities of the infringing products offered for sale, establishing a logical



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relationship between them and suggesting that Defendants’ operation arises out of the same

transaction, occurrence, or series of transactions or occurrences.

                                          THE PARTIES

                                          Plaintiff Mingta

       5.      Plaintiff Fujian Mingta Toys Co. Ltd. is a Chinese business entity with a principal

place of business in Fujian, China. Plaintiff is the owner by assignment of the attached United

States Design Patent (“Patent”). See Exhibit 3.

       6.      Plaintiff is also the copyright claimant and owner of the attached United States

Copyright Registration (“Copyright”). See Exhibit 4.

       7.      Plaintiff sells products that practice the Patent and Copyright via its Amazon e-

commerce store. Plaintiff has established its products as the first to market and has an established

a good reputation and quality reviews.

       8.      Plaintiff has not granted a license or any other form of permission to Defendants

with respect to the Patent and the Copyright.

                                          The Defendants

       9.      Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China. Defendants conduct business throughout the United

States, including within the State of Illinois and this District, through the operation of the fully

interactive, e-commerce marketplaces, such as Amazon, under the Defendant Internet Stores. Each

Defendant targets the United States, including Illinois, and has offered to sell, ready to ship, and,

on information and belief, has sold and continues to sell Infringing Products to consumers within

the United States, including the State of Illinois.

       10.     On information and belief, Defendants are an interrelated group of infringers

working in active concert to knowingly and willfully make, use, offer for sale, sell, and/or import
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into the United States for subsequent sale or use products that infringe directly and/or indirectly

the Patent and to violate Plaintiff’s exclusive rights in the Copyright in the same transaction,

occurrence, or series of transactions or occurrences. For example, Defendants all sell and/or offer

for sale the same Infringing Product with minor variations as well as similar if not identical product

images and descriptions as shown in Exhibits 1-1 to 1-5, suggesting that the Infringing Products

were manufactured by and come from a common source. Tactics used by Defendants to conceal

their identities and the full scope of their operation make it virtually impossible for Plaintiff to

learn Defendants’ true identities and the exact interworking of their network. In the event that

Defendants provide additional credible information regarding their identities, Plaintiff will take

appropriate steps to amend the Complaint.

        11.    Plaintiff has not licensed or authorized Defendants to use the Patent or the

Copyright, and the Defendants are not authorized retailers of Plaintiff’s products.

        12.    Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

On information and belief, Defendants regularly create new online marketplace accounts on

various platforms, as well as other unknown fictitious names and addresses. Such Defendant

Internet Store registration patterns are one of many common tactics used by the Defendants to

conceal their identities, the full scope and interworking of their operation, and to avoid being shut

down.

        13.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores. The Defendant Internet Stores include

notable common features beyond selling the same infringing products, including the same product

images, lack of reliable contact information, and the use of the same or substantially similar text,



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images, product descriptions, some even including content copied from Plaintiff’s original product

listings.

        14.    In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online infringers use a variety of other common tactics to

evade enforcement efforts. For example, infringers like Defendants will often register new online

marketplace accounts under new aliases once they receive notice of a lawsuit. Infringers also

typically ship products in small quantities via international mail to minimize detection by United

States Customs and Border Protection.

        15.    Further, infringers such as Defendants typically operate multiple credit card

merchant accounts behind layers of payment gateways so that they can continue operation in spite

of Plaintiff’s enforcement efforts, such as take down notices. On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their online

marketplace accounts or other financial accounts to off-shore bank accounts outside the

jurisdiction of this Court. Indeed, analysis of transaction histories from previous similar cases

indicates that offshore infringers regularly move funds from United States based accounts to

China-based bank accounts outside the jurisdiction of this Court.

        16.    Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully offered for sale, sold, and/or imported into the United States for subsequent resale or

use products that infringe directly and/or indirectly the Patent or the Copyright, and continue to do

so via the Defendant Internet Stores. Each Defendant Internet Store offers shipping to the United

States, including Illinois, and, on information and belief, each Defendant has sold Infringing

Products into the United States, including Illinois.




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        17.    Defendants’ infringement of the Patent in the offering to sell, selling, or importing

of the Infringing Products was willful. Similarly, Defendants’ infringement of the Copyright in the

intrusion upon the exclusive rights in the Copyright was willful.

        18.    Defendants’ infringement of the Patent or the Copyright is irreparably harming

Plaintiff.

                       COUNT I - DESIGN PATENT INFRINGEMENT

        19.    Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        20.    Defendants manufacture, offer for sale, sell, and/or import into the United States

for subsequent resale or use Infringing Products that infringe either directly and/or indirectly the

ornamental design claimed in the Patent.

        21.    Defendants have infringed the Patent through the aforesaid acts and will continue

to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused Plaintiff to suffer

irreparable harm resulting from the loss of its lawful patent rights to exclude others from making,

using, selling, offering for sale, and importing the patented inventions. Plaintiff will further suffer

irreparable harm due to loss of goodwill and reputation, loss of market share, and price erosion.

Plaintiff is entitled to injunctive relief pursuant to 35 U.S.C. § 283.

        22.    Unless a preliminary and permanent injunction is issued enjoining Defendants from

infringing the Patent, Plaintiff will continue to be irreparably harmed.

        23.    Plaintiff is entitled to recover damages adequate to compensate for the

infringement, including Defendants’ profits pursuant to 35 U.S.C. § 289. Plaintiff is entitled to

recover any other damages as appropriate pursuant to 35 U.S.C. § 284.




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                         COUNT II - COPYRIGHT INFRINGEMENT

       24.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       25.     Plaintiff owns all exclusive rights in the Copyright as provided by 17 U.S.C. § 106,

including, without limitation, the rights to reproduce copies, to prepare derivative works, and to

distribute copies to the public by sale or other transfer of ownership, or by rental, lease, or lending.

       26.     Defendants have violated these exclusive rights by reproducing and distributing

copies of the Copyright to the public by sale and/or by preparing derivate works based upon the

Copyright. For example, Defendants are reproducing, selling, offering to sell, marketing,

distributing, and advertising copies and/or derivate works of the Copyright without Plaintiff’s

permission through and on their respective e-commerce storefronts.

       27.     Defendants had access to Plaintiff’s Copyright as Plaintiff published the Copyright

on its Amazon store before Defendants created their Defendant Internet Stores. Upon information

and belief, Defendants have directly copied Plaintiff’s Copyright when creating the Infringing

Products themselves.

       28.     Plaintiff has seen significant declines in the sales of its actual products which

corresponds with the increased proliferation of cheap knockoffs that have flooded the market.

Further, consumers have often been misled into believing that they were buying Plaintiff

authorized products only to discover that, in fact, they were receiving inferior imitations.

       29.     Defendants have infringed the Copyright through the aforesaid acts and will

continue to do so unless enjoined by this Court. Defendants’ wrongful conduct has caused Plaintiff

to suffer irreparable harm resulting from the loss of its exclusive rights in the Copyright.




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       30.     On information and belief, Defendants’ infringing acts were willful, deliberate, and

committed with prior notice and knowledge of the Copyright. Each Defendant continues to

infringe upon Plaintiff’s exclusive rights in and to the Copyright.

       31.     As a direct and proximate result of their wrongful conduct, Defendants have

realized and continue to realize profits and other benefits rightfully belonging to Plaintiff.

Accordingly, Plaintiff seeks an award of damages pursuant to 17 U.S.C. § 504.

       32.     In addition to Plaintiff’s actual damages, Plaintiff is entitled to receive the profits

made by the Defendants from their wrongful acts, pursuant to 17 U.S.C. § 504(b). Each Defendant

should be required to account for all gains, profits, and advantages derived by each Defendant

from their acts of infringement. Alternatively, Plaintiff may elect to choose statutory damages.

       33.     Plaintiff is further entitled to injunctive relief under 17 U.S.C. § 502, enjoining any

use or exploitation by Defendants of their infringing works and for an order under 17 U.S.C. § 503

that any of Defendants’ infringing products be impounded and destroyed.

       34.     Plaintiff seeks and is entitled to recover reasonable attorneys’ fees and costs of this

suit pursuant to 17 U.S.C. § 505.

       35.     Plaintiff has no adequate remedy at law, and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known work.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for a judgment against Defendants as follows:

1)     That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under or in active concert with them be

temporarily, preliminarily, and permanently enjoined and restrained from:



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       a.      offering for sale, selling, and importing any products not authorized by Plaintiff

               and that include any reproduction, copy or colorable imitation of the design claimed

               in the Patent or the Copyright;

       b.      aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon

               the design claimed in the Patent or the Copyright;

       c.     manufacturing, shipping, delivering, hold for sale, transferring or otherwise moving,

               storing, distributing, returning, or otherwise disposing of, in any manner, products

               or inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

               sold or offered for sale, and which bear any of Plaintiff’s design claimed in the

               Patent and the Copyright or any reproductions, counterfeit copies or colorable

               imitations thereof; and

       d.      effecting assignments or transfers, forming new entities or associations or utilizing

               any other device for the purpose of circumventing or otherwise avoiding the

               prohibitions set forth in Subparagraphs (a) and (b).

2)     Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and those

with notice of the injunction, including, without limitation, any online marketplace platforms such

as Alibaba, Amazon, Temu.com, and Walmart.com, web hosts, sponsored search engine or ad-

word providers, credit cards, banks, merchant account providers, third party processors and other

payment processing service providers, Internet search engines such as Google, Bing and Yahoo

(collectively, the “Third Party Providers”) shall:

       a.      disable and cease providing services being used by Defendants, currently or in the

               future, to engage in the sale of goods that infringe the Patent or the Copyright;




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       b.      disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of infringing goods using the Patent or the

               Copyright; and

       c.      take all steps necessary to prevent links to the Defendant Internet Stores identified

               on Schedule A from displaying in search results, including, but not limited to,

               removing links to the Defendant Internet Stores from any search index;

3)     That Plaintiff be awarded such damages as it shall prove at trial against Defendants that

are adequate to compensate Plaintiff for infringement of the Patent and/or the Copyright, and all

of the profits realized by Defendants, or others acting in concert or participation with Defendants,

from Defendants’ unauthorized use and infringement of the Patent and/or the Copyright;

4)     That Plaintiff be awarded from Defendants, as a result of Defendants’ use and infringement

of the Patent, three times Plaintiff’s therefrom and three times Defendants’ profits therefrom, after

an accounting, pursuant to 35 USC § 284;

5)     That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

6)     Award any and all other relief that this Court deems just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable by jury.




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DATED: July 3, 2024                               Respectfully submitted,


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